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                    Exhibit 3
                 Case
CAUTION: NOT TO BE USED2:14-cv-01884-BJR
                        FOR                  Document
                                    THIS IS AN           25-2 Filed
                                               IMPORTANT RECORD.                                            04/28/16ANYPage  2 of 2 IN SHADED AREAS
                                                                                                                        ALTERATIONS
IDENTIFICATION PURPOSES                      SAFEGUARD IT                                                                                           RENDER FORM VOID
                                   CERTIFICATE OF RELEASE OR DISCHARGE FROM ACTIVE DUTY
                                       This Report Contains Information Subject to the Privacy Act of 197 4, As Amended.
1. NAME (Last, First, Middle)                            12. DEPARTMENT, COMPONENT AND BRANCH                                     3. SOCIAL SECURITY NUMBER
ROARK, MICHAEL BRETT                                      ARMY/RA
4a. GRADE, RATE OR RANK                I b. PAY GRADE                  5. DATE OF BIRTH (YYYYMMDD)           16. RESERVE OBLIGATION TERMINATION DATE
PV2                                     ED2                                                                       (YYYYMMDD)        00000000
7a. PLACE OF ENTRY INTO ACTIVE DUTY                                    b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete address if known)
JACKSONVILLE, FLORIDA

Sa. LAST DUTY ASSIGNMENT AND MAJOR COMMAND                                            b. STATION WHERE SEPARATED
060008ARBDE RECON TR FC                                                               FORT STEWART, GA 31314
 9. COMMAND TO WHICH TRANSFERRED                                                                                                  10. SGLI COVERAGEU_ NONE
N/A                                                                                                                                  AMOUNT: $ 400, DOD. DO
11. PRIMARY SPECIALTY (List number, title and years and months in                     12. RECORD OF SERVICE                        YEAR(S)         MONTH(S)        DAY(S)
    specialty. List additional specialty numbers and titles involving periods of       a. DATE ENTERED AD THIS PERIOD               2010             03               10
    one or more years.)                                                                b. SEPARATION DATE THIS PERIOD               2011             12               02
19D10 CAVALRY SCOUT - 1 YRS 4 MOS//NOTHING                                             c. NET ACTIVE SERVICE THIS PERIOD            0001             08               23
FOLLOWS                                                                                                                             DODO             DO               DO
                                                                                       d. TOTAL PRIOR ACTIVE SERVICE
                                                                                       e. TOTAL PRIOR INACTIVE SERVICE              DODO             DO               DO
                                                                                       f. FOREIGN SERVICE                           DODO             DO               DO
                                                                                       g. SEA SERVICE                               DODO             DO               DO
                                                                                       h. INITIAL ENTRY TRAINING                    DODO             04               24
                                                                                       i. EFFECTIVE DATE OF PAY GRADE               L:U11            U':J               11
13. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN                               14. MILITARY EDUCATION (Course title, number of weeks, and month and
    RIBBONS AWARDED OR AUTHORIZED (All periods of service)                                year completed)
NATIONAL DEFENSE SERVICE MEDAL//ARMY SERVICE NONE//NOTHING FOLLOWS
RIBBON//NOTHING FOLLOWS




15a. COMMISSIONED THROUGH SERVICE ACADEMY                                                                                                                YES      X          NO
  b. COMMISSIONED THROUGH ROTC SCHOLARSHIP (10 USC Sec. 2107b)                                                                                           YES      X          NO
  c. ENLISTED UNDER LOAN REPAYMENT PROGRAM (10 USC Chap. 109) (If Yes, years of commitment:                     NA            )                          YES      X          NO
16. DAYS ACCRUED LEAVE                 117. MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE                                                   YES        NO
    PAID 31.5                               DENTAL SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION
                                                                                                           X
18.REMARKS ///////////////////////////////////////////////////////////////////////////////////////////////////
BLOCK 6, PERIOD OF DELAYED ENTRY PROGRAM: 20091105-20100309//MEMBER HAS NOT COMPLETED
FIRST FULL TERM OF SERVICE//NOTHING FOLLOWS




The information contained herein is subject to computer matching within the Department of Defense or with any other affected Federal or non-Federal agency for verification
purposes and to determine eligibility for, and/or continued compliance with, the requirements of a Federal benefit program.
19a. MAILING ADDRESS AFTER SEPARATION (Include ZIP Code)                                b. NEAREST RELATIVE (Name and address- include ZIP Code)
                                                                                     TRACY JAHR

20. MEMBER REQUESTS COPY 6 BE SENT TO (Specify state/locality)    WA        OFFICE OF VETERANS AFFAIRS X                                                    YES          NO
 a. MEMBER REQUESTS COPY 3 BE SENT TO THE CENTRAL OFFICE OF THE DEPARTMENT OF VETERANS AFFAIRS
    (WASHINGTON, DC)                                                                                                 X                                      YES          NO

21.a. MEMBER SIGNATURE          b. DATE         22.a. OFFICIAL AUTHORIZED TO SIGN (Typed name, grade, title, signature)                                     b. DATE
ESIGNED BY: ROARK.MICHAE (YYYYMMDD) ESIGNED BY: EVANS.JOAN.G.1229924938                                                                                       (YYYYMMDD)
L.BRETT.1393254072      20111202 JOAN G EVANS, GS07, LEAD HUMAN RESOURCES ASS 20111202

                                         SPECIAL ADDITIONAL INFORMATION (For use by authorized agencies only)
23. TYPE OF SEPARATION                                                 24. CHARACTER OF SERVICE (Include upgrades)
DISCHARGE                                                                            UNDER HONORABLE CONDITIONS (GENERAL)
25. SEPARATION AUTHORITY                                                              26. SEPARATION CODE                         I ;7. REENTRY CODE
AR 635-200, PARA 14-12B                                                               JKA
28. NARRATIVE REASON FOR SEPARATION
PATTERN OF MISCONDUCT
29. DATES OF TIME LOST DURING THIS PERIOD (YYYYMMDD)                                                                              130. MEMBER REQUESTS COPY 4
NONE                                                                                                                                  (Initials)   MER
DD FORM 214, AUG 2009                                   PREVIOUS EDITION IS OBSOLETE.                                                                        CONFIDENTIAL
                                                                                                                                                            SERVICE- 2
                                                                GENERATED BY TRANSPROC                                                                        JAHR0017303
